                                               THE HONORABLE MARY JO HESTON
 1                                             CHAPTER 13
                                               HEARING DATE: September 28, 2023
 2
                                               HEARING TIME: 1:00 P.M.
 3                                             LOCATION: Tacoma
                                               RESPONSE DATE: September 21, 2023
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10                IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                    WESTERN DISTRICT OF WASHINGTON AT TACOMA
11

12                                             Case No.: 18-42845-MJH
       In Re:
13                                             NOTICE OF HEARING AND MOTION FOR
       BRIAN DOUGLAS DESKINS and               DETERMINATION OF FINAL CURE AND
14     CHERYL ANN DESKINS,                     PAYMENT
15
                                   Debtors.
16
                                              NOTICE
17
            YOU ARE HEREBY NOTIFIED that a hearing on Trustee’s Motion for
18
     Determination of Final Cure and Payment will be heard before the Honorable Mary Jo Heston
19

20
     at 1:00 P.M. on September 28, 2023, at the U.S. Bankruptcy Courthouse, 1717 Pacific

21   Avenue, Courtroom I, Tacoma, WA 98402.

22          IF YOU OPPOSE this motion, you must file your written response with the Court

23   Clerk and deliver copies on the undersigned and all interested parties, NOT LATER THAN

24   THE RESPONSE DATE, which is September 21, 2023. You should also appear at the time of
25
                                                                               Michael G. Malaier
                                                                       Chapter 13 Standing Trustee
     NOTICE OF HEARING AND MOTION FOR                                       2122 Commerce Street
     FINAL CURE AND PAYMENT                   -1                              Tacoma, WA 98402
                                                                                   (253) 572-6600
     hearing. If you fail to do so, the Court may enter an order granting the motion without any
 1
     hearing and without further notice.
 2

 3

 4                                               MOTION

 5           COMES NOW, Michael G. Malaier, the Chapter 13 Standing Trustee, and hereby

 6   requests the Court make determination of final cure and payment pursuant to Fed. R. Bankr. P.
 7   3002.1(h) as follows:
 8
             Debtors’ Chapter 13 plan was confirmed on February 16, 2019, ECF No. 40, providing
 9
     for debtors’ second mortgage owed Bank of America., Claim No. 6, to be paid direct.
10
             An order was entered on May 11, 2020 Approving Post-Confirmation Modification,
11
     which provided for the second mortgage, transferred from Bank of America to Specialized Loan
12
     Servicing, to be paid inside the plan.
13
             There have been four Transfers of Claim, with the most recent, ECF No. 80, indicating
14
     the current Servicer is Legacy Mortgage Asset Truste 2021-SL2.
15

16           A proof of claim was filed July 29, 2020, Claim 6-2, by Specialized Loan Servicing LLC,

17   listing arrears owed of $3,817.00.84 and the post-petition monthly payment $433.43. No Notice

18   of Mortgage Payment Changes have been filed since creditor filed their proof of claim July 29,

19   2020.
20
             According to Trustee’s records, Debtors are current on their pre and post-petition
21
     mortgage payments through September, 2023, with the next mortgage payment due October,
22
     2023. See Declaration of Tracy Maher. Trustee’s records reflect that Debtor’s pre-petition
23
     mortgage arrears have been paid in full. Id.
24

25
                                                                                    Michael G. Malaier
                                                                            Chapter 13 Standing Trustee
     NOTICE OF HEARING AND MOTION FOR                                            2122 Commerce Street
     FINAL CURE AND PAYMENT                         -2                             Tacoma, WA 98402
                                                                                        (253) 572-6600
              The only issue preventing closure of this case and issuance of Trustee’s Final Report is
 1
     a determination as to the post-petition status of Creditor’s claim. It is prejudicial to the Debtors
 2

 3   to allow Creditor to prevent the closure of this case based on the assertion of an unsupported

 4   discrepancy and instead raise the issue after all payments have been made under the plan.

 5          WHEREFORE the Trustee respectfully requests that the Court make a determination

 6   that the Debtor has cured the default and made all ongoing payments under the terms of the plan
 7   and that the loan is current through September, 2023, as of the date of this motion.
 8
            DATED this 22nd day of August, 2023.
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10
                                                    /s/ Mathew S. LaCroix
11                                                  Mathew S. LaCroix, WSBA #41847 for
                                                    Michael G. Malaier, Chapter 13 Trustee
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13
                                           PROOF OF SERVICE
14

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            I declare under penalty of perjury under the laws of the United States as follows: I
16   mailed via regular mail a true and correct copy of the Trustee’s Motion for Determination of
     Final Cure, Declaration and Proposed Order to all parties listed on the attached mailing matrix.
17

18          The following parties received notice via ECF:

19          °Ellen Ann Brown                                °Dane Exnowski
            °Lance E. Olsen                                 °Michael S. Scott
20
            °Jason C. Tatman                                °US Trustee
21
            Executed at Tacoma, Washington on the 22nd day of August, 2023.
22

23
                                                            /s/Tracy Maher
24                                                          Tracy Maher
                                                            Office Manager
25
                                                                                        Michael G. Malaier
                                                                                Chapter 13 Standing Trustee
     NOTICE OF HEARING AND MOTION FOR                                                2122 Commerce Street
     FINAL CURE AND PAYMENT                        -3                                  Tacoma, WA 98402
                                                                                            (253) 572-6600
